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    In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                     Filed: May 21, 2019

* * * * * * * * * * * * *  *
LAURA WEISHAAR, natural daughter
                           *
of Loretta Nordtvedt and on behalf of
                           *
the ESTATE OF LORETTA      *
NORDTVEDT,                 *                               No. 17-1372V
                           *                               Special Master Sanders
                           *
     Petitioner,           *
                           *
v.                         *
                           *
SECRETARY OF HEALTH        *                               Attorneys’ Fees and Costs
AND HUMAN SERVICES,        *
                           *
            Respondent.    *
* * * * * * * * * * * * * *
Danielle A. Strait, Maglio Christopher & Toale, Seattle, WA, for Petitioner.
Darryl R. Wishard, United States Department of Justice, Washington, D.C., for Respondent.

                       DECISION ON ATTORNEYS’ FEES AND COSTS1

        On September 28, 2017, Laura Weishaar, natural daughter of Loretta Nordtvedt and on
behalf of the Estate of Loretta Nordtvedt (“petitioner”), filed a petition for compensation pursuant
to the National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-10 to 34 (2012).
Petitioner alleged that her mother suffered from “a demyelinating polyneuropathy,” and ultimately
died, as a result of an influenza (“flu”) vaccination she received on September 10, 2014. Pet. at 1,

1
  The undersigned intends to post this Ruling on the United States Court of Federal Claims’ website. This
means the ruling will be available to anyone with access to the Internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this case,
the undersigned is required to post it on the United States Court of Federal Claims’ website in accordance
with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion
of Electronic Government Services).
2
 National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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ECF No. 1. On June 4, 2018, petitioner moved unopposed for a decision denying compensation.
ECF No. 23. On June 5, 2018, the undersigned issued her Decision dismissing the petition for
insufficient proof. Decision, ECF No. 25.

        On February 22, 2019, petitioner filed an application for attorneys’ fees and costs. ECF
No. 33 (“Fees App.”). Petitioner requests total attorneys’ fees and costs in the amount of
$14,115.84 (representing $12,992.10 in fees and $1,123.74 in costs). Fees App. at 2. Pursuant to
General Order No. 9, petitioner has indicated that she has not personally incurred any costs in
pursuit of this litigation. Id. Respondent responded to the motion on March 7, 2019, indicating
that “respondent defers to the Special Master to determine whether the statutory requirements for
an award of attorneys’ fees and costs (including the reasonable basis requirement) are met in this
case.” Resp’t’s Resp. at 2–3 (ECF No. 34). Petitioner did not file a reply thereafter.

       This matter is now ripe for consideration.

I.     Reasonable Attorneys’ Fees and Costs

        Section 15(e) (1) of the Vaccine Act allows for the Special Master to award “reasonable
attorneys' fees, and other costs.” § 300aa–15(e)(1)(A)–(B). Petitioners are entitled to an award of
reasonable attorneys' fees and costs if they are entitled to compensation under the Vaccine Act, or,
even if they are unsuccessful, they are eligible so long as the Special Master finds that the petition
was filed in good faith and with a reasonable basis. Avera v. Sec'y of Health & Human Servs., 515
F.3d 1343, 1352 (Fed. Cir. 2008). Here, the undersigned does not doubt that the petition was filed
in good faith, and although the petition was eventually dismissed, the undersigned finds that there
was reasonable basis to file the petition. Respondent has also not challenged the reasonable basis
of the petition. Accordingly, a final award of fees is appropriate.

        It is “well within the special master’s discretion” to determine the reasonableness of fees.
Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521–22 (Fed. Cir. 1993); see also Hines
v. Sec’y of Health & Human Servs., 22 Cl. Ct. 750, 753 (1991). (“[T]he reviewing court must grant
the special master wide latitude in determining the reasonableness of both attorneys’ fees and
costs.”). Applications for attorneys’ fees must include contemporaneous and specific billing
records that indicate the work performed and the number of hours spent on said work. See Savin
v. Sec’y of Health & Human Servs., 85 Fed. Cl. 313, 316–18 (2008). Such applications, however,
should not include hours that are “‘excessive, redundant, or otherwise unnecessary.’” Saxton, 3
F.3d at 1521 (quoting Hensley v. Eckerhart, 461 U.S. 424, 434 (1983)).

        Reasonable hourly rates are determined by looking at the “prevailing market rate” in the
relevant community. See Blum, 465 U.S. at 895. The “prevailing market rate” is akin to the rate
“in the community for similar services by lawyers of reasonably comparable skill, experience and
reputation.” Id. at 895, n.11. Petitioners bear the burden of providing adequate evidence to prove
that the requested hourly rate is reasonable. Id.

       a. Hourly Rates




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        The decision in McCulloch provides a framework for consideration of appropriate ranges
for attorneys’ fees based upon the experience of the practicing attorney. McCulloch v. Sec’y of
Health & Human Servs., No. 09-293V, 2015 WL 5634323, at *19 (Fed. Cl. Spec. Mstr. Sept. 1,
2015), motion for recons. denied, 2015 WL 6181910 (Fed. Cl. Spec. Mstr. Sept. 21, 2015). The
Court has since updated the McCulloch rates, and the Attorneys’ Forum Hourly Rate Fee
Schedules for 2015–2016, 2017, 2018, and 2019 can be accessed online.3

        Petitioner requests the following rates of compensation for the work of her attorney, Ms.
Danielle Strait: $307.00 per hour for work performed in 2017 and $322.00 per hour for work
performed in 2018. Fees App. Ex. 1 at 15. These rates are consistent with what Ms. Strait has
been awarded for her work in the Vaccine Program. See Kratzer v. Sec’y of Health & Human
Servs., No. 17-1209V, 2019 WL 1806626, at *2 (Fed. Cl. Spec. Mstr. Mar. 6, 2019). Accordingly,
no adjustment to the requested rates is necessary.

       b. Hours Expended

         Attorneys’ fees are awarded for the “number of hours reasonably expended on the
litigation.” Avera, 515 F.3d at 1348. Counsel should not include in their fee requests hours that
are “excessive, redundant, or otherwise unnecessary.” Saxton, 3 F.3d at 1521.

        Upon review, the undersigned finds the overall hours billed (62.2) to be reasonable.
Counsel has provided sufficiently detailed descriptions for the tasks performed, and upon review
the undersigned does not find any of the billing entries to be unreasonable. Respondent has also
not indicated that he finds any of the billing entries to be unreasonable. Accordingly, petitioner is
entitled to final attorneys’ fees in the amount of $12,992.10.

       c. Attorneys’ Costs

        Like attorneys’ fees, a request for reimbursement of attorneys’ costs must be reasonable.
Perreira v. Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed. Cl. 1992). Petitioner requests
a total of $1,123.74 in attorneys’ costs. This amount comprises the cost of obtaining medical
records, mailing costs, and the Court’s filing fee. All the costs appear reasonable in the
undersigned’s experience and petitioner has provided adequate documentation for them. Petitioner
is thus entitled to the full amount of costs sought.

II.    Conclusion

3
 The 2015–2016 Fee Schedule can be accessed at:
http://www.cofc.uscourts.gov/sites/default/files/Attorneys-Forum-Rate-Fee-Schedule2015-2016.pdf. The
2017 Fee Schedule can be accessed at: http://www.cofc.uscourts.gov/sites/default/files/Attorneys-Forum-
Rate-Fee-Schedule-2017.pdf. The 2018 Fee Schedule can be accessed at:
http://www.cofc.uscourts.gov/sites/default/files/Attorneys%27%20Forum%20Rate%20Fee%20Schedule
%202018.pdf. The 2019 Fee Schedule can be accessed at:
http://www.cofc.uscourts.gov/sites/default/files/Attorneys%27%20Forum%20Rate%20Fee%20Schedule
%202019.pdf. The hourly rates contained within the schedules are updated from the decision in
McCulloch, 2015 WL 5634323.


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       Based on all the above, the undersigned finds that petitioner is entitled to the following
award of reasonable attorneys’ fees and costs:

    Attorneys’ Fees Requested                                             $12,992.10
    (Reduction to Rates)                                                       -
    Total Attorneys’ Fees Awarded                                         $12,992.10

    Attorneys’ Costs Requested                                             $1,123.74
    (Reduction of Costs)                                                       -
    Total Attorneys’ Costs Awarded                                         $1,123.74

    Total Attorneys’ Fees and Costs                                       $14,115.84

        In accordance with the Vaccine Act, 42 U.S.C. § 300aa-15(e) (2012), the undersigned has
reviewed the billing records and costs in this case and finds that petitioner’s request for fees and
costs is reasonable. Accordingly, the undersigned awards the following:

      1) A lump sum in the amount of $14,115.84, representing reimbursement for petitioner’s
         attorneys’ fees and costs, in the form of a check payable to petitioner and her attorney,
         Ms. Danielle Strait.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of the
Court shall enter judgment in accordance herewith.4

         IT IS SO ORDERED.

                                                 s/Herbrina D. Sanders
                                                 Herbrina D. Sanders
                                                 Special Master




4
  Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek
review. Vaccine Rule 11(a).

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